         Case 1:19-cv-01348-EMR Document 17 Filed 06/29/20 Page 1 of 1




           In the United States Court of Federal Claims
 PETRINA SMITH,
                                                          No. 19-1348 C
                  Plaintiff,
                                                          Filed: June 29, 2020
                       v.

 THE UNITED STATES,

                  Defendant.



                                    SCHEDULING ORDER

        On June 25, 2020, the parties filed a joint motion to amend the Court’s preconditional
certification discovery and motion schedule. See ECF No. 16. In that motion, the parties requested
a 63-day extension of time as to the deadlines established in this Court’s March 18, 2020 Order
“in light of complications in obtaining the discovery responses and production due to the ongoing
COVID-19 pandemic.” Id. at 2-3. For good cause shown, the parties’ request is GRANTED.
The parties shall proceed as follows:

       1. Pre-conditional certification discovery shall be completed by September 3, 2020.

       2. Plaintiff’s motion for conditional certification shall be filed by September 11, 2020.

       3. Defendant’s opposition to Plaintiff’s motion for conditional certification shall be filed
          by October 9, 2020.

       4. Plaintiff’s reply in support of her motion for conditional certification shall be filed by
          October 23, 2020.

       5. Parties shall file a joint status report providing the Court with a proposal for further
          proceedings no later than 14 days after the date the Court issues a decision regarding
          Plaintiff’s motion for conditional certification.

        IT IS SO ORDERED.


                                                               s/ Eleni M. Roumel
                                                              ELENI M. ROUMEL
                                                                     Judge
